Case:16-10760-SDB Doc#:55 Filed:12/08/16 Entered:12/08/16 14:38:19                           Page:1 of 1
                 IN THE UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION

IN THE MATTER OF:                                                )   Chapter 13
Eleanor J Hamilton                                               )
1067 Earle Street                                                )   Case No: 16-10760-SDB
Thomson, GA 30824                                                )
                                                                 )

             MOTION TO DISMISS (AFTER CONFIRMATION DELINQUENCY)

         COMES NOW, the Chapter 13 Trustee Huon Le, by and through counsel, and moves the Court
to dismiss the above-captioned case and in support thereof shows:

        1. The Debtor last made a payment on October 3, 2016.
        2. The Debtor's case is delinquent in the amount of $690.00 as of December 8, 2016.
        3. The delinquency constitutes a material default in the performance of the confirmed plan.

        WHEREFORE, said Trustee moves to dismiss the case.

        This 8th day of December 2016.
                                                 /s/ Cortney Elam
                                                 Cortney Elam, Attorney for
                                                 Chapter 13 Trustee Huon Le
                                                 Georgia Bar No. 143688

                                       NOTICE ON MOTION

        Pursuant to direction by the Court, notice is hereby given that unless the Debtor requests a
hearing in writing showing good cause to oppose this Motion within twenty -one (21) days of the date
shown below, the case shall be dismissed.

      COUNSEL IS ADVISED TO COMPLY WITH BANKRUPTCY RULE 9011 IN
FILING ANY SUCH REQUEST.

                                    CERTIFICATE OF SERVICE

       The undersigned hereby certifies that copies of this Motion to Dismiss (After Confirmation
Delinquency) have been forwarded by either electronic or first -class mail, postage prepaid, to the
above-named Debtor and the parties whose name appears below, on the 8th day of December 2016.

                                                 /s/ Yvonne Ogbuefi
                                                 Office of the Chapter 13 Trustee
                                                 Post Office Box 2127
                                                 Augusta, GA 30903-2127

Fowler & Wills LLC
Attorney At Law
P O Box 1620
Thomson, GA 30824
